DR. JENNIFER CONRAD, D.V.M.
EDUCATION:
   UC Berkeley - BA in Biology, 1989
   UC Davis School of Veterinary Medicine - DVM, 1994
   Certification in Veterinary Medical Acupuncture (CVA) - 2012
   Certification in Canine Rehabilitation - estimated completion date, 2015
PROFESSIONAL MEMBERSHIPS:
   American Veterinary Medical Association
   American Association of Zoo Veterinarians
   European Association of Zoo and Wildlife Veterinarians
WORK EXPERIENCE:
   Small Animal Veterinary Practice - Associate Veterinarian, 1994-1997
   Los Angeles Zoo - Veterinarian, 1994-1998
   Santa Barbara Zoo - Veterinarian, 1999
   Wildlife Waystation, Tujunga, CA - Head Veterinarian, 1999-2003
   Paw Project - Head Veterinarian, 1999-present
   Solo Private Practice for captive wildlife and domestic animals, 1994-present
   Found Animals Foundation - Veterinary Director of Mobile Spay and Neuter Program, 2010
PUBLICATIONS AND PRESENTATIONS:
   "Deleterious Effects Of Onychectomy (Declawing) in Exotic Felids and a Reparative Surgical
     Technique: A Preliminary Report," Proceedings of the American Association of Zoo
     Veterinarians, 2002
   Presenter, Lewis and Clark College Animal Law Conference, 2003
   Lecturer, UCLA School of Law, Animal Law Program, 2003 and 2011
   Lecturer, Western University School of Veterinary Medicine, 2006 and 2014
   Lecturer, Kansas State University School of Veterinary Medicine, 2011
HONORS AND AWARDS:
   Wildlife Waystation Animal Advocate of the Year, 2002
   STAR Education Animal Advocate of the Year, 2003 and 2013
   Kitten Rescue Animal Advocate of the Year, 2009
   Humane Society Veterinary Medical Association (HSVMA) Veterinary Advocate of the Year,
    2012
   Stray Cat Alliance Animal Advocate of the Year, 2013
   Commendation for Animal Advocacy from City of Los Angeles, 2013
   Commendation for Animal Advocacy from City of West Hollywood, 2013
VETERINARY ADVOCACY AND CHARITABLE WORK:
   Cheetah Conservation Fund, Volunteer Veterinarian, Namibia, 1996
   Etosha National Park, Rhino Conservation program, Volunteer Veterinarian, Namibia, 1996
   Founder and Director, Paw Project, a nonprofit advocacy organization, 1999-present
   Cambodia Wildlife Sanctuary - Veterinary Medical Director, 2003-present
   Director and Writer, "The Paw Project," a documentary film, 2013




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